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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                          02-CR-13(2)(JMR/ESS)
                           05-CV-1406(JMR/JSM)


United States of America                )
                                        )
           v.                           )            ORDER
                                        )
Timothy K. McGruder                     )


      Timothy McGruder moves to vacate, set aside, or correct his

sentence pursuant to 28 U.S.C. § 2255.        For the reasons set forth

herein, his motion is denied.

I.   Background

      On the night of July 20, 1996, McGruder and his confederates

drove around St. Paul, Minnesota.       Each was armed.        McGruder and

his fellow passengers were members or associates of the Rolling 60s

Crips gang.     The Rolling 60s Crips were engaged in a gang war with

the Bogus Boys.    The Crips leader, Terron “Rico” Williams, ordered

his gang’s members to shoot Bogus Boys on sight.          As they drove in

St. Paul’s Midway area, McGruder and his co-defendants, Keith

Crenshaw and Kamil Hakeem Johnson, thought they saw a Bogus Boy’s

car at a gas station.

      The driver, Malik Harut, dropped the three defendants off in

the alley near the gas station.       McGruder, Crenshaw, and Johnson

went to the six-foot wooden fence alongside the gas station,

reached over it, and fired their weapons into the gas station

parking area where they believed the Bogus Boys to be.            McGruder’s

gun jammed, but Crenshaw and Johnson fired at least 20 rounds. The
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vehicle they saw did not contain any of the Bogus Boys, but instead

it belonged to one of their girlfriends.

     There was no return fire.         The shooting left three women

wounded, and Davisha Gillum, the four-year-old daughter of one of

the women, dead.   She was shot in the head and died that night.

     McGruder and his companions ran back to the waiting car. They

immediately sought out “Rico” Williams to tell him of the events.

Each bragged about the shooting to other members and associates of

the Rolling 60s gang – at least until the next day’s news reports

revealed they had killed an innocent child.

     Eyewitnesses described the shooters as three young black

males, one of whom was very light-skinned.         All three defendants

are African-American; Crenshaw is very light-skinned.                 Bullet

casings recovered at the scene showed at least one of the weapons

to be a rare Heckler & Koch pistol.     At least one shooter had used

illegal Black Talon ammunition.         Trial evidence revealed that

Johnson’s girlfriend had both a Heckler & Koch pistol and Black

Talon bullets prior to the shooting. Despite these and other leads

suggesting the involvement of the Rolling 60s gang, investigators

were unable to develop a triable case of Davisha Gillum’s murder.

Their investigation was hindered because no one involved with the

gang would speak out.

     The case came to the attention of the FBI Drug Task Force.

After years of investigating, the Task Force and the Minnesota U.S.


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Attorney’s Office developed a case against the leadership of the

Rolling   60s   Crips.    This    culminated    in    the   2001   grand      jury

indictment of the gang’s leadership, including “Rico” Williams and

his brother Greg Hymes, along with another gang leader.                       The

defendants were indicted on federal drug trafficking charges,

including a decade-long cocaine-trafficking conspiracy.                    After

apprehension, Williams agreed to cooperate with law enforcement,

and identified Crenshaw, McGruder, and Johnson, as well as driver

Harut, as the participants in the Davisha Gillum murder. McGruder,

Crenshaw, and Johnson were identified as the shooters.              When Harut

was arrested, he admitted driving the car and confirmed the

shooters’ identities.

     Defendants Crenshaw, McGruder, and Johnson were indicted for

aiding and abetting murder in aid of racketeering activity, in

violation of 18 U.S.C. §§ 2 and 1959.            At trial, five witnesses

testified to the identity of the shooters – Williams, Harut, Hymes,

and two others who heard defendants brag about the murder.                     The

government presented unrebutted evidence showing the Rolling 60s

Crips to be a racketeering enterprise under the statute, and

evidence showing defendants’ acts were motivated by a desire to

enter the gang, or maintain or increase their position therein.

     The jury found all three defendants guilty of the charge.

Each was sentenced to the statutorily prescribed term of life

imprisonment.      The   Eighth   Circuit     Court   of    Appeals   affirmed


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McGruder’s conviction and sentence. United States v. Crenshaw, 359

F.3d       977,    1005   (8th   Cir.    2004).       McGruder    timely   filed      this

petition.

II.    Analysis

       McGruder claims his trial counsel was ineffective for several

reasons.          His arguments are without merit.1

       To prevail on his claim of ineffective assistance of counsel,

McGruder must show his “counsel’s representation fell below an

objective standard of reasonableness” and “a reasonable probability

that, but for counsel’s unprofessional errors, the result of the

proceedings would have been different.”                  Strickland v. Washington,

466 U.S. 668, 694 (1984).               Counsel’s reasonable strategic choices,

even if ultimately unsuccessful, do not rise to the level of

ineffective assistance.            See id. at 689; English v. United States,

998 F.2d 609, 613 (8th Cir. 1993).                Accordingly, the Court reviews

counsel’s decisions with considerable deference.

       A.     Federal Jurisdiction

       McGruder       claims     his    counsel   failed     to   challenge     federal

jurisdiction at every stage of the proceedings.                    Even if true, the



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      The Court is mindful that a petition under 28 U.S.C. § 2255
is not a substitute for direct appeal. Reid v. United States, 976
F.2d 446, 447 (8th Cir. 1992). Accordingly, the Court is barred
from considering either matters actually raised on direct appeal,
see English v. United States, 998 F.2d 609, 612-13 (8th Cir. 1993),
or matters which could have been raised on direct appeal, absent a
showing of cause and substantial, actual prejudice. Ford v. United
States, 983 F.2d 897, 898-99 (8th Cir. 1992) (per curiam).

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Court finds counsel’s decision was neither objectively unreasonable

nor prejudicial to McGruder’s defense.

        According to McGruder, his counsel should have moved to

dismiss the indictment for lack of jurisdiction.                 One of his co-

defendants did in fact make such a motion, which this Court denied

upon recommendation by the Magistrate Judge.            [Docket Nos. 58, 82,

92, 114.]       McGruder’s counsel then raised the jurisdictional

argument on direct appeal, and the appellate court rejected it.

Crenshaw, 359 F.3d at 984-87.       Because the Eighth Circuit reviewed

the issue de novo and decided it adversely to McGruder, he was not

prejudiced by counsel’s failure to raise it before this Court. Id.

at 984.    Having lost this issue on appeal, he may not relitigate it

here in the context of a 28 U.S.C. § 2255 petition.                English, 998

F.2d at 612-13.

        McGruder’s   counsel    cannot     be    faulted,        nor   was     his

representation ineffective for any failure to search for or elicit

facts    that   allegedly   would   have   supported     the     jurisdictional

argument – for example, by contradicting the government’s evidence

about the structure and leadership of the Rolling 60s Crips gang.

His counsel, instead, pursued a different strategy.                      Counsel

accepted “Rico” Williams’s testimony that he was the leader of the

Crips, and used it both to discredit Williams’s testimony against

McGruder, and to suggest Williams himself had committed the murder.

T. 64-67, 70. This was consistent with McGruder’s defense strategy


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at trial, which was to present an alibi for the time of the murder.

     The Eighth Circuit has held that counsel may permissibly

pursue one reasonable trial strategy to the exclusion of another.

United States v. Acty, 77 F.3d 1054, 1059 (8th Cir. 1996); Payne v.

United States, 78 F.3d 343, 347 (8th Cir. 1996).            Counsel’s choice

to do so here did not render his representation ineffective.

     Similarly flawed is McGruder’s claim that counsel failed to

interview witnesses who would have testified on the jurisdictional

issue.   Bald assertions that a witness would have exculpated the

defendant are insufficient even to warrant an evidentiary hearing,

let alone any other relief.       United States v. Delgado, 162 F.3d

981, 983 (8th Cir. 1998); Engelen v. United States, 68 F.3d 238, 240

(8th Cir. 1995).       McGruder has provided neither a supporting

affidavit nor any other evidence of these witnesses’ potential

testimony.    As a result, the Court has no basis to conclude that

counsel’s    failure   to   interview   them   rose    to     the   level   of

ineffective assistance.      The Court further notes the very real

possibility that a number of these witnesses, even if called, might

have invoked their privilege against self-incrimination. Foster v.

Delo, 39 F.3d 873, 879 (8th Cir. 1994) (counsel not ineffective for,

among other things, failing to call witness whose testimony at

trial would have risked self-incrimination).

     The same analysis holds true of McGruder’s own testimony.              He

claims his attorney persuaded him not to testify, an assertion not


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supported by the record. Instead, the record shows he was aware of

his absolute right to testify, see T. Voir Dire at 4, and that

after discussing it with his lawyer, he expressed no opposition

when his lawyer informed the Court he would not be testifying.                  T.

1315.    Even were the Court to accept this argument, it is far from

clear that McGruder’s testimony would have affected the outcome at

trial; he states only that his testimony could have “clarified”

certain “issues” regarding the gang; this does not allow a finding

of ineffectiveness.        Delgado, 162 F.3d at 983; Sumlin v. United

States, 46 F.3d 48, 49 (8th Cir. 1995).

        B.   Jury Instructions

        McGruder   next   claims   counsel     should    have    challenged     the

Court’s jury instructions regarding the elements of the crime.

Here, too, his argument fails.

        An attorney’s representation is not ineffective for failing to

challenge correct instructions. See Dyer v. United States, 23 F.3d

1424, 1426 (8th Cir. 1994) (no ineffective assistance in counsel’s

failure to pursue meritless claim).          The Court properly instructed

the jury that it needed to find that the Rolling 60s Crips engaged

in drug trafficking or other racketeering activities to satisfy the

“enterprise” element of 18 U.S.C. § 1959.               T. Instructions at 18-

19.     And, as the Eighth Circuit recently held when it affirmed

McGruder’s conviction, it is entirely proper to instruct the jury

that the enterprise’s effect on interstate commerce need be only


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minimal.    Crenshaw, 359 F.3d at 985 n. 3.

     Because    the    Court’s   instructions      were    correct       as   given,

counsel’s failure to challenge them does not amount to ineffective

assistance.

     C.     Indictment

     Finally, McGruder claims his lawyer should have challenged the

indictment because it did not charge “Rico” Williams.

     Counsel is not ineffective for failing to make a meritless

argument.     Dyer, 23 F.3d at 1426.         The grounds cited by McGruder

provide no legal or factual basis to challenge the indictment.                     It

is well established that an indictment need not charge every

culpable party in order to be sufficient under the law. See, e.g.,

Eighth Circuit Model Jury Instructions (Criminal) § 5.06B (2003).

Counsel’s    failure     to   make   this   argument    did       not   render    his

representation ineffective.

     For all of these reasons, the Court concludes that McGruder’s

trial counsel provided effective assistance.

     D.     Certificate of Appealability

     The Court has considered whether issuance of a Certificate of

Appealability (“COA”) is appropriate.            See Tiedman v. Benson, 122

F.3d 518, 522 (8th Cir. 1997). In that context, the Court concludes

that no issue McGruder has raised in his petition is “debatable

among reasonable jurists.”           Flieger v. Delo, 16 F.3d 878, 882-83

(8th Cir. 1994) (citation omitted).          Petitioner has failed to make


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the “substantial showing of the denial of a constitutional right”

necessary for the issuance of a COA.            28 U.S.C. § 2253(c)(2).

III.    Conclusion

       For these reasons, McGruder’s petition under 28 U.S.C. § 2255

[Docket No. 212] is denied.         No Certificate of Appealability shall

issue.

       IT IS SO ORDERED.

Dated:    May 26, 2006




                              s/ JAMES M. ROSENBAUM
                              JAMES M. ROSENBAUM
                              United States Chief District Judge




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